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Attorney for the Defendant

                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,


                Plaintiff,                           CASE NO. CR-19-00386-BLW

 vs.
                                                     NOTICE OF APPEARANCE
 KARINA RENEE MOORE,


                Defendant.



       Jeffrey Brownson of the LAW OFFICE OF JEFFREY BROWNSON enters his

appearance as attorney of record for the Defendant in the above-entitled action.

       DATED this 3rd day of January 2020.

                                                    /s/ Jeffrey Brownson




1•     NOTICE OF APPEARANCE
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of January 2020, I filed the foregoing electronically
through the CM/ECF system, which caused the parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:

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                                                      /s/ Jeffrey Brownson




2 • NOTICE OF APPEARANCE
